        Case 1:07-cr-00212-AWI Document 132 Filed 08/14/09 Page 1 of 2


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 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        )   1:07-CR-212 AWI
                                                      )
12                          Plaintiff,                )   ORDER ON PARTIES’ STIPULATION TO
                                                      )   CONTINUE TRIAL DATE
13                                                    )
                                      v.              )
14                                                    )   HONORABLE Anthony W. Ishii
     LUCIANO SERRANO-ROCHA,                           )
15                                                    )
                            Defendants.               )
16                                                    )
                                                      )
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18          The United States of America, by and through Lawrence G. Brown, United States Attorney,
19   and Kathleen A. Servatius, Assistant United States Attorney, and the defendants, by and through
20   their attorneys, have stipulated that the trial of this case, currently set for September 1, 2009, be
21   continued, and for the following schedule:
22          February 2, 2010, 8:30 a.m.: Trial Date
23          January 11, 2010, 9:00 a.m.: Trial Confirmation, Hearing on Motions in Limine
24          December 1, 2009:               Filing of Motions in Limine
25          December 15, 2009:              Filing Responses to Motions in Limine
26          December 22, 2009               Filing Replies in relation to Motions in Limine
27          The parties have further requested that time be excluded to and through the date of the court’s
28   decision on the motions due to the pendency of the defendants’ motions. See 18 U.S.C. § 3161(h).

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        Case 1:07-cr-00212-AWI Document 132 Filed 08/14/09 Page 2 of 2


 1   The parties have further agreed that time be excluded to and through February 2, 2010 in that failure
 2   to grant the requested continuance would unreasonably deny the defendants continuity of counsel,
 3   and unreasonably deny both the defendants and the government the reasonable time necessary for
 4   effective preparation, taking into account the parties’ due diligence in prosecuting this case. 18
 5   U.S.C. § 3161(h)(7)(B)(iv). In light of the pending motion to suppress and the parties need for
 6   additional time to prepare for trial, and the need for continuity of counsel, and for the reasons stated,
 7   the Court finds that the ends of justice served by granting the request outweigh the best interest of
 8   the public and the defendants in a speedy trial.
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11   IT IS SO ORDERED.
12   Dated:     August 13, 2009                         /s/ Anthony W. Ishii
     0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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